               Case 04-26497-MBM
FORM B6 (6/90) W est Group, Rochester, NY
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                                            UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF PENNSYLVANIA
                                                   PITTSBURGH DIVISION
   In re Randy J. Gillette, Sr.                                                                                   Case No. 04-26497-MBM
                                                                                                                  Chapter 7


                                                                                                     / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages on each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from
Schedules D, E and F to determine the total amount of the debtor's liabilities.

                                                                                                 AMOUNTS SCHEDULED

                                            Attached         No. of
       NAME OF SCHEDULE                     (Yes/No)         Sheets        ASSETS                        LIABILITIES                  OTHER

 A-Real Property
                                             Yes               1       $      15,000.00

 B-Personal Property
                                             Yes               3       $        5,900.00

 C-Property Claimed as
   Exempt
                                             Yes               1

 D-Creditors Holding Secured
   Claims
                                             Yes               1                                 $              32,514.00

 E-Creditors Holding
   Unsecured Priority Claims
                                             Yes               1                                 $                     0.00

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes               5                                 $              21,225.59

 G-Executory Contracts and
   Unexpired Leases
                                             Yes               1

 H-Codebtors
                                             Yes               1

 I-Current Income of Individual
   Debtor(s)
                                             Yes               1                                                              $           2,200.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes               1                                                              $           2,582.00


        Total Number of Sheets in All Schedules                16


                                                        Total Assets   $       20,900.00


                                                                             Total Liabilities   $              53,739.59
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In re Randy J. Gillette, Sr.                                                                             / Debtor        Case No. 04-26497-MBM
                                                                                                                                                          (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES


                              DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR


     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         17   sheets, and that they are true and
     correct to the best of my knowledge, information and belief.



     Date:                                                 Signature   /s/ Randy J. Gillette, Sr.
                                                                       Randy J. Gillette, Sr.
              Case 04-26497-MBM
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In re Randy J. Gillette, Sr.                                                                          / Debtor         Case No. 04-26497-MBM
                                                                                                                                                      (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant,
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's
own benefit. If the debtor is married, state whether the husband, wife, or both own the property by placing an "H," "W ," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired
Leases.
If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold
a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C-Property Claimed as
Exempt.

                                                                                                                       Current Market
             Description and Location of Property                               Nature of Debtor's                                              Amount of
                                                                                                                           Value
                                                                               Interest in Property                   of Debtor's Interest,
                                                                                                                                              Secured Claim
                                                                                                        Husband--H    in Property Without
                                                                                                           Wife--W       Deducting any
                                                                                                           Joint--J    Secured Claim or
                                                                                                      Community--C         Exemption


Residence at 305 East Sheridan Avenue New Fee Simple                                                                     $ 15,000.00           $ 15,000.00
Castle, Pa 16105, house is gutted.




No continuation sheets attached                                                                 TOTAL $                   15,000.00
                                                                        (Report also on Summary of Schedules.)
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In re Randy J. Gillette, Sr.                                                                                   / Debtor            Case No. 04-26497-MBM
                                                                                                                                                                       (if known)

                                                   SCHEDULE B-PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"X" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own property by placing an
"H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of
any exemptions claimed only in Schedule C-Property Claimed as Exempt.
Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."

                                                                                                                                                       Current Market
               Type of Property               N                  Description and Location of Property                                                      Value
                                                                                                                                                      of Debtor's Interest,
                                              o                                                                                   Husband--H          in Property Without
                                                                                                                                      Wife--W            Deducting any
                                              n                                                                                                        Secured Claim or
                                                                                                                                     Joint--J
                                              e                                                                                 Community--C               Exemption


1. Cash on hand.                                  Cash on hand                                                                                                    $ 20.00
                                                  Location: In debtor's possession


2. Checking, savings or other financial           Checking Account with First Commonwealth Bank                                                                 $ 600.00
   accounts, certificates of deposit, or
   shares                                         Location: New Castle
   in banks, savings and loan, thrift,
   building
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

                                                  First National Bank of Pa                                                                                       $ 10.00
                                                  Location: New Castle, Pa

3. Security deposits with public utilities,   X
   telephone companies, landlords, and
   others.

4. Household goods and furnishings,               Misc. Household Furnishings                                                                                   $ 500.00
   including audio, video, and computer
   equipment.                                     Location: In debtor's possession


                                                  Small Household Appliances                                                                                    $ 400.00
                                                  Location: In debtor's possession


5. Books, pictures and other art objects,     X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                               Men's Clothing                                                                                                $ 200.00
                                                  Location: In debtor's possession


7. Furs and jewelry.                              Jewelry, gold chain                                                                                           $ 150.00
                                                  Location: In debtor's possession


8. Firearms and sports, photographic, and     X
   other hobby equipment.

9. Interests in insurance policies. Name      X
   insurance company of each policy and
   itemize surrender or refund value of



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In re Randy J. Gillette, Sr.                                                                              / Debtor     Case No. 04-26497-MBM
                                                                                                                                                         (if known)

                                                        SCHEDULE B-PERSONAL PROPERTY

                                                                            (Continuation Sheet)

                                                                                                                                         Current Market
               Type of Property                    N               Description and Location of Property                                      Value
                                                                                                                                        of Debtor's Interest,
                                                   o                                                                   Husband--H       in Property Without
                                                                                                                           Wife--W         Deducting any
                                                   n                                                                                     Secured Claim or
                                                                                                                          Joint--J
                                                   e                                                                 Community--C            Exemption

   each.

10. Annuities. Itemize and name each issuer.       X

11. Interests in IRA, ERISA, Keogh, or other       X
    pension or profit sharing plans. Itemize.

12. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

13. Interests in partnerships or joint             X
    ventures.
    Itemize.

14. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.

15. Accounts Receivable.                           X

16. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.

17. Other liquidated debts owing debtor            X
    including tax refunds. Give particulars.

18. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

19. Contingent and non-contingent                  X
    interests
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.

20. Other contingent and unliquidated              X
    claims
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights
    to
    setoff claims. Give estimated value of
    each.

21. Patents, copyrights, and other intellectual    X
    property. Give particulars.

22. Licenses, franchises, and other general        X
    intangibles. Give particulars.

23. Automobiles, trucks, trailers and other            1997 Ford Ranger                                                                       $ 3,000.00
    vehicles.
                                                       Location: In debtor's possession


24. Boats, motors, and accessories.                X

25. Aircraft and accessories.                      X

26. Office equipment, furnishings, and             X
    supplies.




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In re Randy J. Gillette, Sr.                                                                         / Debtor          Case No. 04-26497-MBM
                                                                                                                                                         (if known)

                                                   SCHEDULE B-PERSONAL PROPERTY

                                                                       (Continuation Sheet)

                                                                                                                                         Current Market
               Type of Property               N               Description and Location of Property                                           Value
                                                                                                                                        of Debtor's Interest,
                                              o                                                                       Husband--H        in Property Without
                                                                                                                          Wife--W          Deducting any
                                              n                                                                                          Secured Claim or
                                                                                                                         Joint--J
                                              e                                                                     Community--C             Exemption

27. Machinery, fixtures, equipment and            Lawn Mower                                                                                        $ 20.00
    supplies used in business.
                                                  Location: In debtor's possession


28. Inventory.                                    Inventory, misc hand/power tools                                                            $ 1,000.00
                                                  Location: In debtor's possession


29. Animals.                                  X

30. Crops - growing or harvested.             X
    Give particulars.

31. Farming equipment and implements.         X

32. Farm supplies, chemicals, and feed.       X

33. Other personal property of any kind not   X
    already listed. Itemize.




Page      3      of    3                                                                                         Total                          $ 5,900.00
                                                                                                                     (Report total also on Summary of Schedules.)
                                                                                                           Include amounts from any continuation sheets attached.
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In re
        Randy J. Gillette, Sr.                                                                         / Debtor           Case No. 04-26497-MBM
                                                                                                                                                      (if known)

                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:
(Check one box)
   11 U.S.C. § 522(b) (1): Exemptions provided in 11 U.S.C. § 522(d). Note: These exemptions are available only in certain states.
   11 U.S.C. § 522(b) (2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been
                           located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any
                           other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process
                           under applicable nonbankruptcy law.


                                                                          Specify Law                                   Value of          Current Market
             Description of Property                                     Providing each                                 Claimed          Value of Property
                                                                           Exemption                                   Exemption         Without Deducting
                                                                                                                                            Exemptions

Cash on hand                                         11 USC 522(d)(5)                                                        $ 20.00               $ 20.00

Checking Account with First                          11 USC 522(d)(5)                                                       $ 600.00              $ 600.00
Commonwealth Bank

First National Bank of Pa                            11 USC 522(d)(5)                                                        $ 10.00               $ 10.00

Misc. Household Furnishings                          11 USC 522(d)(3)                                                       $ 500.00              $ 500.00

Small Household Appliances                           11 USC 522(d)(3)                                                       $ 400.00              $ 400.00

Men's Clothing                                       11 USC 522(d)(3)                                                       $ 200.00              $ 200.00

Jewelry, gold chain                                  11 USC 522(d)(4)                                                       $ 150.00              $ 150.00

1997 Ford Ranger                                     11 USC 522(d)(2)                                                       $ 486.00          $ 3,000.00

Lawn Mower                                           11 USC 522(d)(5)                                                        $ 20.00               $ 20.00

Inventory, misc hand/power                           11 USC 522(d)(6)                                                    $ 1,000.00           $ 1,000.00
tools




                                                                                                                                       Page No.    1 of      1
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In re Randy J. Gillette, Sr.                                                                           / Debtor                        Case No. 04-26497-MBM
                                                                                                                                                                    (if known)

                            SCHEDULE D-CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the
debtor as of the date of filing of the petition. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens,
mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors will not fit on
this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column marked "Codebtor," include the entity on the
appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules.

   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                       C U     D
      Creditor's Name and Mailing Address          C   Date Claim was Incurred,                                        o n     i     Amount of Claim         Unsecured
                                                   o                                                                   n l     s
                                                       Nature of Lien, and Description and                                               Without            Portion, if any
                 Including Zip Code                d                                                                   t i     p
                                                       Market Value of Property Subject to Lien                        i q     u     Deducting Value
                                                   e
                                                                                                                       n u     t
                                                   b                                                                   g i     e       of Collateral
                                                     H--Husband                                                          d
                                                   t                                                                   e a     d
                                                     W--Wife
                                                   o                                                                   n t
                                                     J--Joint
                                                   r C--Community                                                      t e
                                                                                                                         d
Account No:
        407400779                                       1997                                                                             $ 2,514.00                  $ 0.00
Creditor # : 1                                          Car Loan
Americredit
P.O. Box 78143
Phoenix AZ 85062-8143

                                                         Value:   $ 3,000.00
Account No:
        0006930135                                      2002                                                                           $ 30,000.00           $ 15,000.00
Creditor # : 2                                          Mortgage
Option One                                              Residence at 305 East Sheridan
P.O. Box 57041                                          Avenue New Castle, Pa 16105
Irvine CA 92619-7041

                                                         Value:   $ 15,000.00
Account No:




                                                         Value:

Account No:




                                                         Value:

No continuation sheets attached                                                                                  Subtotal $                32,514.00
                                                                                                              (Total of this page)
                                                                                                                       Total $             32,514.00
                                                              (Use only on last page. Report total also on Summary of Schedules)
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In re Randy J. Gillette, Sr.                                                                                        / Debtor                          Case No. 04-26497-MBM
                                                                                                                                                                                  (if known)

               SCHEDULE E-CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name and mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as
of the date of the filing of the petition.

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the
marital community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

           Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E in
the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                 (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
     appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).


     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).


     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
     of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).


     Deposits by individuals

     Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
     were not delivered or provided. 11 U.S.C. § 507(a)(6).


     Alimony, Maintenance or Support
     Claims of a spouse, former spouse, or child of the debtor, for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).


     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, custom duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
     Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
               *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


                                                                           No continuation sheets attached
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In re Randy J. Gillette, Sr.                                                                     / Debtor                        Case No. 04-26497-MBM
                                                                                                                                                                (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


State the name, mailing address, including zip code, and last four digits of any account number, if any, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules.


   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

                                                                                                                                   C     U   D
      Creditor's Name and Mailing Address               C          Date Claim was Incurred,                                        o     n
                                                                                                                                                     Amount of Claim
                                                                                                                                             i
                                                        o                                                                          n     l   s
                                                        d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                                t
                                                                                                                                         q
                                                                                                                                             p
                                                        e          If Claim is Subject to Setoff, so State.                        i         u
                                                                                                                                         u
                                                                                                                                   n         t
                                                        b                                                                          g
                                                                                                                                         i
                                                                                                                                         d   e
                                                        t H--Husband                                                               e     a   d
                                                        o W--Wife                                                                  n     t
                                                        r J--Joint                                                                 t
                                                                                                                                         e
                                                                                                                                         d
                                                           C--Community
          583741606973324
Account No:                                                     7/27/03                                                                                        $ 948.23
Creditor # : 1                                                  Groceries & Household Goods
Capital One
Bankruptcy Dept.
PO Box 85167
Richmond VA 23285-5167

Account No:

Representing:                                                   Allied Interstate, Inc
                                                                PO Box 361343
Capital One                                                     Columbus OH 43236



Account No:

Representing:                                                   NCO Financial Systems
                                                                PO Box 8148
Capital One
                                                                Philadelphia PA 19101-8148



          QUALIC
Account No:                                                     7/31/03                                                                                    $ 1,801.24
Creditor # : 2                                                  Business Costs
Castle Builders Supply, Inc
1409 Moravia Street
New Castle PA 16101


    4 continuation sheets attached                                                                                             Subtotal $                      2,749.47
                                                                                                                            (Total of this page)
                                                                                                                                       Total $
                                                                                                   (Report total also on Summary of Schedules)
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In re Randy J. Gillette, Sr.                                                                    / Debtor                       Case No. 04-26497-MBM
                                                                                                                                                              (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                         (Continuation Sheet)

                                                                                                                                 C     U   D
      Creditor's Name and Mailing Address             C          Date Claim was Incurred,                                        o     n
                                                                                                                                                   Amount of Claim
                                                                                                                                           i
                                                      o                                                                          n     l   s
                                                      d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                              t     q   p
                                                      e          If Claim is Subject to Setoff, so State.                        i     u   u
                                                                                                                                 n         t
                                                      b                                                                          g
                                                                                                                                       i
                                                                                                                                       d   e
                                                      t H--Husband                                                               e     a   d
                                                      o W--Wife                                                                  n     t
                                                      r J--Joint                                                                 t     e
                                                                                                                                       d
                                                         C--Community
          4227
Account No:                                                   8/7/03                                                                                         $ 841.38
Creditor # : 3                                                Business Costs
Equipment Rental Options
1015 Moravia Street
New Castle PA 16101


          010150424745
Account No:                                                   12/10/03                                                                                   $ 4,090.00
Creditor # : 4                                                Insurance Bill
Erie Insurance Group
3410 West 12th Street
Erie PA 16505


          4447960110716055
Account No:                                                   12/5/03                                                                                        $ 599.76
Creditor # : 5                                                Household & Living Expenses
First National Bank of Marin
Payment Services
PO Box 80015
Los Angeles CA 90080-0015

          4620431-2215
Account No:                                                   4/16/04                                                                                        $ 731.43
Creditor # : 6                                                Living Expenses
First National Bank of PA
4140 E. State Street
Hermitage PA 16148-3487


Account No:

Representing:                                                 Abrams & Mazar
                                                              Suite 207- Alstan Mall
First National Bank of PA                                     2526 Monroeville Blvd
                                                              Monroeville PA 15146


          4610078702296658
Account No:                                                   8/25/03                                                                                        $ 538.15
Creditor # : 7                                                Living Expenses
First Premier Bank
PO Box 5147
Sioux Falls SD 57117-5147


Sheet No.      1 of      4 continuation sheets attached to Schedule of                                                       Subtotal $                      6,800.72
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)
                                                                                                                                     Total $
                                                                                                 (Report total also on Summary of Schedules)
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In re Randy J. Gillette, Sr.                                                                    / Debtor                       Case No. 04-26497-MBM
                                                                                                                                                              (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                         (Continuation Sheet)

                                                                                                                                 C     U   D
      Creditor's Name and Mailing Address             C          Date Claim was Incurred,                                        o     n
                                                                                                                                                   Amount of Claim
                                                                                                                                           i
                                                      o                                                                          n     l   s
                                                      d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                              t     q   p
                                                      e          If Claim is Subject to Setoff, so State.                        i     u   u
                                                                                                                                 n         t
                                                      b                                                                          g
                                                                                                                                       i
                                                                                                                                       d   e
                                                      t H--Husband                                                               e     a   d
                                                      o W--Wife                                                                  n     t
                                                      r J--Joint                                                                 t     e
                                                                                                                                       d
                                                         C--Community
Account No:

Representing:                                                 Arrow Financial Services, LLC
                                                              21031 Network Place
First Premier Bank                                            Chicago IL 60678-1031



          5488975012028828
Account No:                                                   12/1/03                                                                                        $ 510.25
Creditor # : 8                                                Living Expenses
Household Bank
PO Box 17051
Baltimore MD 21297-1051


          10948
Account No:                                                   11/10/03                                                                                        $ 20.93
Creditor # : 9                                                Medical Bill
Jameson Memorial Hospital
1211 Wilmington Avenue
New Castle PA 16105


Account No:

Representing:                                                 Sylor Collection Services, Inc
                                                              PO Box 937
Jameson Memorial Hospital                                     Twinsburg OH 44087-0937



          166883-25
Account No:                                                   1/15/04                                                                                         $ 34.21
Creditor # : 10                                               Medical Bill
Jameson Memorial Hospital
1211 Wilmington Avenue
New Castle PA 16105


          382
Account No:                                                   11/12/03                                                                                       $ 820.00
Creditor # : 11                                               Business Costs
Lear LLC
PO Box 7622
New Castle PA 16107


Sheet No.      2 of      4 continuation sheets attached to Schedule of                                                       Subtotal $                      1,385.39
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)
                                                                                                                                     Total $
                                                                                                 (Report total also on Summary of Schedules)
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In re Randy J. Gillette, Sr.                                                                    / Debtor                       Case No. 04-26497-MBM
                                                                                                                                                              (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                         (Continuation Sheet)

                                                                                                                                 C     U   D
      Creditor's Name and Mailing Address             C          Date Claim was Incurred,                                        o     n
                                                                                                                                                   Amount of Claim
                                                                                                                                           i
                                                      o                                                                          n     l   s
                                                      d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                              t     q   p
                                                      e          If Claim is Subject to Setoff, so State.                        i     u   u
                                                                                                                                 n         t
                                                      b                                                                          g
                                                                                                                                       i
                                                                                                                                       d   e
                                                      t H--Husband                                                               e     a   d
                                                      o W--Wife                                                                  n     t
                                                      r J--Joint                                                                 t     e
                                                                                                                                       d
                                                         C--Community
          9202003
Account No:                                                   2/9/04                                                                                         $ 105.76
Creditor # : 12                                               Returned Check
Lowe's
P.O. Box 105980
Department 79
Atlanta GA 30353-5980

Account No:

Representing:                                                 Bennett & DeLoney, P.C.
                                                              PO Box 190
Lowe's                                                        Midvale UT 84047-0190



          24838
Account No:                                                   2/95                                                                                       $ 2,821.00
Creditor # : 13                                               Merchandise
Mahoning Consumer Discount co.
2418 Wilmington Road
New Castle PA 16105


          110005267544
Account No:                                                   4/29/04                                                                                        $ 556.87
Creditor # : 14                                               Electric Bill
Penn Power
P.O. Box 3687
Akron OH 44309-3687


          110004872757
Account No:                                                   1/8/04                                                                                     $ 2,820.61
Creditor # : 15                                               Electric Bill
Penn Power
P.O. Box 3687
Akron OH 44309-3687


          57191267
Account No:                                                   2/11/04                                                                                         $ 59.52
Creditor # : 16                                               Insurance
Progressive Insurance Company
2114 Newell Avenue
Aliquippa PA 15001-2729


Sheet No.      3 of      4 continuation sheets attached to Schedule of                                                       Subtotal $                      6,363.76
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)
                                                                                                                                     Total $
                                                                                                 (Report total also on Summary of Schedules)
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In re Randy J. Gillette, Sr.                                                                    / Debtor                       Case No. 04-26497-MBM
                                                                                                                                                              (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                         (Continuation Sheet)

                                                                                                                                 C     U   D
      Creditor's Name and Mailing Address             C          Date Claim was Incurred,                                        o     n
                                                                                                                                                   Amount of Claim
                                                                                                                                           i
                                                      o                                                                          n     l   s
                                                      d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                              t     q   p
                                                      e          If Claim is Subject to Setoff, so State.                        i     u   u
                                                                                                                                 n         t
                                                      b                                                                          g
                                                                                                                                       i
                                                                                                                                       d   e
                                                      t H--Husband                                                               e     a   d
                                                      o W--Wife                                                                  n     t
                                                      r J--Joint                                                                 t     e
                                                                                                                                       d
                                                         C--Community
Account No:

Representing:                                                 NCO Financial Systems
                                                              PO Box 41457
Progressive Insurance Company                                 Philadelphia PA 19101-1457



          5128
Account No:                                                   12/1/03                                                                                    $ 2,432.65
Creditor # : 17                                               Business Costs
R.W. Cox Garage Doors
802 W. Maitland Lane
PO Box 5318
New Castle PA 16105

          14048
Account No:                                                   6/30/03                                                                                    $ 1,149.60
Creditor # : 18                                               Business Advertisment
The Eagle Printing Co.
114-116 West Diamond Street
PO Box 271
Butler PA 16003

          1182888
Account No:                                                   6/6/03                                                                                          $ 96.00
Creditor # : 19                                               Business Advertisment
Tribune-Review Publishings
PO Box 642562
Pittsburgh PA 15264-2562


          1404868
Account No:                                                   2001                                                                                           $ 248.00
Creditor # : 20                                               Phone Bill
Verizon
P.O. Box 28000
Lehigh Valley PA 18002-8000


Account No:




Sheet No.      4 of      4 continuation sheets attached to Schedule of                                                       Subtotal $                      3,926.25
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)
                                                                                                                                     Total $              21,225.59
                                                                                                 (Report total also on Summary of Schedules)
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In re Randy J. Gillette, Sr.                                                                                  / Debtor            Case No. 04-26497-MBM
                                                                                                                                                              (if known)


                 SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described.

NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of
     creditors.

   Check this box if the debtor has no executory contracts or unexpired leases.

              Name and Mailing Address,                                                         Description of Contract or Lease and
                including Zip Code, of                                                               Nature of Debtor's Interest.
                other Parties to Lease                                                   State whether Lease is for Nonresidential Real Property.
                     or Contract                                                          State Contract Number of any Government Contract.




                                                                                                                                                      Page   1 of      1
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In re Randy J. Gillette, Sr.                                                                      / Debtor          Case No. 04-26497-MBM
                                                                                                                                                 (if known)


                                                      SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in
the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the
name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding
the commencement of this case.
   Check this box if the debtor has no codebtors.

                      Name and Address of Codebtor                                                  Name and Address of Creditor




                                                                                                                                       Page     1 of      1
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In re Randy J. Gillette, Sr.                                                                              / Debtor        Case No. 04-26497-MBM
                                                                                                                                                                (if known)


                         SCHEDULE I-CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.
   Debtor's Marital                                                               DEPENDENTS OF DEBTOR AND SPOUSE
    Status:                      RELATIONSHIP                                                                              AGE
      Single                      Son                                                                                      11
 EMPLOYMENT:                                               DEBTOR                                                                   SPOUSE

 Occupation                   Handy Man/Light Construction
 Name of Employer             Self-Employed-Quality One
 How Long Employed            2 years
 Address of Employer          305 East Sheridan Avenue
                              New Castle PA 16105
 Income: (Estimate of average monthly income)                                                                        DEBTOR                            SPOUSE
 Current Monthly gross wages, salary, and commissions (pro rate if not paid monthly)                       $                      0.00 $                          0.00
 Estimated Monthly Overtime                                                                                $                      0.00 $                          0.00
 SUBTOTAL                                                                                                  $                      0.00 $                          0.00
     LESS PAYROLL DEDUCTIONS
      a. Payroll Taxes and Social Security                                                                 $                      0.00     $                      0.00
      b. Insurance                                                                                         $                      0.00     $                      0.00
      c. Union Dues                                                                                        $                      0.00     $                      0.00
      d. Other (Specify):                                                                                  $                      0.00     $                      0.00
 SUBTOTAL OF PAYROLL DEDUCTIONS                                                                            $                      0.00     $                      0.00
 TOTAL NET MONTHLY TAKE HOME PAY                                                                           $                      0.00 $                          0.00
 Regular income from operation of business or profession or farm (attach detailed statement)               $                      0.00     $                      0.00
 Income from Real Property                                                                                 $                      0.00     $                      0.00
 Interest and dividends                                                                                    $                      0.00     $                      0.00
 Alimony, maintenance or support payments payable to the debtor for the debtor's use or that               $                      0.00     $                      0.00
 of dependents listed above.
 Social Security or other government assistance
 Specify: Social Security Disability                                                                       $               1,400.00 $                             0.00
 Pension or retirement income                                                                              $                   0.00 $                             0.00
 Other monthly income
 Specify: Social Security for Son                                                                          $                 600.00 $                             0.00
           Side Jobs                                                                                       $                 200.00 $                             0.00
    TOTAL MONTHLY INCOME                                                                                   $               2,200.00 $                             0.00
                        TOTAL COMBINED MONTHLY INCOME                         $                2,200.00
                        (Report also on Summary of Schedules)

 Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this
 document:




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In re Randy J. Gillette, Sr.                                                                            / Debtor                Case No. 04-26497-MBM
                                                                                                                                                          (if known)


                      SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

Complete this schedule by estimating the average expenses of the debtor and the debtor's family. Pro rate any payments made bi-weekly, quarterly,
semi-annually, or annually to show monthly rate.

   Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
   "Spouse."

 Rent or home mortgage payment (include lot rented for mobile home)                                                                           $             607.00
 Are real estate taxes included?           Yes       No
 Is property insurance included?           Yes       No
 Utilities: Electricity and heating fuel                                                                                                      $             200.00
             Water and sewer                                                                                                                  $              40.00
             Telephone                                                                                                                        $              75.00
             Other       Garbage                                                                                                              $              20.00
             Other       Cable TV                                                                                                             $              40.00
             Other       Cell Phone                                                                                                           $              50.00
  Home maintenance (Repairs and upkeep)                                                                                                       $              50.00
  Food                                                                                                                                        $             350.00
  Clothing                                                                                                                                    $              50.00
  Laundry and dry cleaning                                                                                                                    $               0.00
  Medical and dental expenses                                                                                                                 $             150.00
  Transportation (not including car payments)                                                                                                 $             185.00
  Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                            $              50.00
  Charitable contributions                                                                                                                    $               0.00
  Insurance (not deducted from wages or included in home mortgage payments)
             Homeowner's or renter's                                                                                                          $              40.00
             Life                                                                                                                             $               0.00
             Health                                                                                                                           $               0.00
             Auto                                                                                                                             $             125.00
             Other                                                                                                                            $               0.00
             Other                                                                                                                            $               0.00
             Other                                                                                                                            $               0.00
  Taxes (not deducted from wages or included in home mortgage)
  Specify:          Real Property Tax                                                                                                         $             150.00
  Installment payments: (in chapter 12 and 13 cases, do not list payments to be included in the plan)
             Auto                                                                                                                             $             200.00
             Other:                                                                                                                           $               0.00
             Other:                                                                                                                           $               0.00
             Other:                                                                                                                           $               0.00
 Alimony, maintenance, and support paid to others                                                                                             $               0.00
 Payments for support of additional dependents not living at your home                                                                        $               0.00
 Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                 $               0.00
 Other:      School Lunches                                                                                                                   $             100.00
 Other:      Haircuts/Personal                                                                                                                $              75.00
 Other:      Gifts                                                                                                                            $              25.00

                                                                   TOTAL MONTHLY EXPENSES                (Report also on Summary of Schedules) $          2,582.00
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                                             UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF PENNSYLVANIA
                                                    PITTSBURGH DIVISION

In re Randy J. Gillette, Sr.                                                                                                Case No. 04-26497-MBM
                                                                                                                            Chapter 7



                                                                                                                / Debtor

                                                               STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs.

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to any question is "None," or the question is not applicable, mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.




                                                                               DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.


1. Income from employment or operation of business.
     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from the beginning
     of this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A
     debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and
     ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
     state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                      SOURCE (if more than one)

Year to date:                                               Debtor will provide at time of hearing
   Last Year:
Year before:

2. Income other than from employment or operation of business.
     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the two years immediately
     preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
     chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NONE



3. Payments to creditors.
     a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within 90 days immediately
     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
     petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NONE


                                                                                                                         Statement of Affairs - Page 1
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    b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders. (Married
    debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



4. Suits and administrative proceedings, executions, garnishments and attachments.
    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case. (Married
    debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
    separated and a joint petition is not filed.)

CAPTION OF SUIT                                                                            COURT OR AGENCY
AND CASE NUMBER                        NATURE OF PROCEEDING                                  AND LOCATION                                STATUS OR DISPOSITION

Equipment Rental                       Notice of Levy                                      District Justice                              Stayed by
Options                                                                                    Melissa A. Amodie                             bankruptcy
1015 Moravia Street                                                                        430 Court Street
New Castle, Pa                                                                             Lawrence County
16101                                                                                      Gov't Center
vs.                                                                                        New Castle, Pa
Quality 1                                                                                  16101
1811 Delaware
Avenue
New Castle, Pa
16105
Case #
cv-0000022-04


Lear LLC                               Civil Complaint                                     District Justice
2215 Ellwood Road                                                                          Melissa A. Amodie
New Castle, Pa                                                                             430 Court Street
16101                                                                                      Lawrence County
vs.                                                                                        Gov't Center
Gillette, Randy                                                                            New Castle, Pa
1811 Delaware                                                                              16101
Avenue
New Castle, Pa
16105
Case #
cv-0000037-04


Richard & Karen                        Complaint                                           District Justice
Knight                                                                                     David B. Rishel
2331 Martha Street                                                                         2797 New Butler
New Castle, Pa                                                                             Road
16101                                                                                      New Castle, Pa
vs.                                                                                        16101
Randy Gillette
1811 Delaware
Avenue
New Castle, Pa
16105
Case #
CV-0000141-03



                                                                                                                       Statement of Affairs - Page 2
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 QUESTION 4a CONTINUED ...

CAPTION OF SUIT                                                                               COURT OR AGENCY
AND CASE NUMBER                         NATURE OF PROCEEDING                                    AND LOCATION                                 STATUS OR DISPOSITION

Miller, Sandra L.,                      Complaint                                            District Justice                                Judgement for
Et AL.                                                                                       James A. Reed                                   plaintiff in the
RD 5 Box 667                                                                                 3455 Wilmington                                 amount of
Graham Fording Road                                                                          Road                                            $3,239.50 on
New Castle, Pa                                                                               New Castle, Pa                                  3/14/03
16105                                                                                        16105
vs.
Gillette, Randy
1811 Delaware
Avenue
New Castle, Pa
16101
Case #
CV-0000023-03

    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement of this
    case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



5. Repossessions, foreclosures and returns.
    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within one
    year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
    both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



6. Assignments and receiverships.
    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.(Married debtors filing
    under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
    petition is not filed.)

    NONE



    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of this
    case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



7. Gifts.
    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family members
    aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.(Married debtors filing under chapter
    12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
    not filed.)

    NONE




                                                                                                                           Statement of Affairs - Page 3
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8. Losses.
    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of this case.
    (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
    and a joint petition is not filed.)

    NONE



9. Payments related to debt counseling or bankruptcy.
    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief
    under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                           DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                  NAME OF PAYOR IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Edgardo D. Santillan                                Date of Payment:5/6/04                                         $350.00, net of costs
Address:                                                   Payor: Randy J. Gillette, Sr.
650 Corporation Street
Suite 304
Beaver, PA 15009

10. Other transfers.
    List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as security
    within one year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both
    spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



11. Closed financial accounts.
    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one year
    immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and
    share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under
    chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless
    spouses are separated and a joint petition is not filed.)

    NONE



12. Safe deposit boxes.
    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
    commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint
    petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



13. Setoffs.
    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married debtors
    filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



14. Property held for another person.
    List all property owned by another person that the debtor holds or controls.

    NONE



15. Prior address of debtor.
    If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
    vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

    NONE


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16. Spouses and Former Spouses
    If the debtor resides or resided in a community property state, commonwealth or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico,
    Puerto Rico, Texas, W ashington, or W isconsin) within the six-year period immediately preceding the commencement of the case, identify the name of the debtor's spouse
    and of any former spouse who resides or resided with the debtor in the community property state.

    NONE



17. Environmental Information
    For the purpose of this question, the following definitions apply:

    "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, release of hazardous or toxic substances, wastes or material
    into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
    or material.

      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
      including, but not limited to disposal sites.

      "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar term
      under and Environmental Law:

    a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under or in
    violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:

    NONE



    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the governmental unit
    to which the notice was sent and the date of the notice.

    NONE



    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party. Indicate
    the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

    NONE




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18. Nature, location and name of business
     a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses and beginning and ending dates of all businesses in
     which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the
     six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within the six years
     immediately preceding the commencement of this case

         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
        in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately preceding the commencment of this
     case.

         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
        in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately preceding the commencment of this
     case.


                                                           TAXPAYER                                                                                     BEGINNING AND
NAME AND ADDRESS                                           I.D. NUMBER                                    NATURE OF BUSINESS                            ENDING DATES

Debtor is an Individual:                                   TaxPayer ID:                                   Home Remodeling                               2001-2003
f/d/b/a Quality 1                                          XXX-XX-XXXX
Business
Address: 305 East Sheridan
Avenue, New Castle, PA
16105

     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


    NONE




          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
more than 5 percent of the voting securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or otherwise
self-employed.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to
the signature page.)



19. Books, records and financial statements.
     a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of books of
     account and records of the debtor.

    NONE



     b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account and records, or prepared
     a financial statement of the debtor.

    NONE



     c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If any of the
     books of account and records are not available, explain.

    NONE



     d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued within the two years
     immediately preceding the commencement of this case by the debtor.

    NONE



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20. Inventories.
    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar amount and basis
    of each inventory.

    NONE



    b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


    NONE



21. Current Partners, Officers, Directors and Shareholders.
    a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

    NONE



    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5 percent or more
    of the voting or equity securities of the corporation.

    NONE



22. Former partners, officers, directors and shareholders.
    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.

    NONE



    b. If the debtor is a corporation. list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the commencement of
    this case.

    NONE



23. Withdrawals from a partnership or distribution by a corporation.
    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses, loans, stock
    redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.

    NONE



24. Tax Consolidation Group.
    If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax purposes of which the
    debtor has been a member at any time within the six year period immediately preceeding the commencement of the case.

    NONE



25. Pension Funds.
    If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer, has been responsible
    for contributing at any time within the six year period immediately preceding the commencement of the case.

    NONE




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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of Perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and
that they are true and correct to the best of my knowledge, information, and belief.


Date                                                    Signature   /s/ Randy J. Gillette, Sr.
                                                                    Randy J. Gillette, Sr.

Date                                                    Signature


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both, 18 U.S.C. § 152 and § 3571.




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                                            UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF PENNSYLVANIA
                                                   PITTSBURGH DIVISION

In re Randy J. Gillette, Sr.                                                                                Case No. 04-26497-MBM
                                                                                                            Chapter 7



                                                                                                 / Debtor




                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.



2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

a. Property to Be Surrendered.

Description of Property                               Creditor's Name
          None




b. Property to Be Retained.                                                                                      [Check any applicable statement.]

                                                                                                                 Property is    Property will be   Debt will be
                                                                                                                 claimed as     redeemed           reaffirmed
Description of Property                               Creditor's Name                                            exempt         pursuant to        pursuant to
                                                                                                                                11 U.S.C. § 722    11 U.S.C. § 524(c)

Residence at 305 East Sheridan                        Option One                                                  Maintain Current
Avenue New Castle, Pa 16105                           P.O. Box 57041                                              Payments
                                                      Irvine CA 92619-7041




                                                                                                                                          Page       1 of         2
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                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION




                                                         Signature of Debtor(s)


Date:                                          Debtor:   /s/ Randy J. Gillette, Sr.


Date:                                          Joint Debtor:




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                                       UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF PENNSYLVANIA
                                              PITTSBURGH DIVISION
        Randy J. Gillette, Sr.                                                                      Case No. 04-26497-MBM
In re
                                                                                                    Chapter 7
                                                                                         / Debtor
        Attorney for Debtor:   Edgardo D. Santillan

                                      STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               600.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                      350.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   250.00

3. $             209.00             of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
     None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated:                                             Respectfully submitted,


                                              X /s/ Edgardo D. Santillan
                        Attorney for Petitioner: Edgardo D. Santillan
                                                 Santillan & Eisen, P.C.
                                                 650 Corporation Street
                                                 Suite 304
                                                 Beaver PA 15009
